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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
In the Matter of Search Warrants Executed on April 9,
2018
                                                               FILED UNDER SEAL
Michael D. Cohen,
                                                               Order to Show Cause for a
                               Plaintiff,                      Temporary Restraining Order
                                                               and a Preliminary Injunction
                         - against -

United States of America,

                               Defendant.



       UPON the Declaration of Todd Harrison, sworn to April 12, 2018 (“Harrison Decl.”), the

Memorandum of Law in Support of Michael D. Cohen’s Order to Show Cause for a Preliminary

Injunction and a Temporary Restraining Order Concerning Search Warrants Executed on April

9, 2018; and upon all the papers and proceedings heretofore had herein, the Court, having

reviewed the application and Motion for (1) Mr. Cohen’s motion for a preliminary injunction

allowing his counsel to review materials seized pursuant to search warrants on April 9, 2018,

which contain information protected by the attorney-client privilege and the work-product

doctrine, or to appoint a special master to oversee such a review; (2) Mr. Cohen’s application to

have the search warrant, search warrant inventories, and this application sealed; and (3) a

temporary restraining order on the government from reviewing the seized materials and sealing

the search warrants, search warrant inventory and this application, pending the determination of

the preliminary injunction.

       It is hereby, ORDERED, that the above named defendant show cause before a motion

term of this Court, at Room ___, United States Courthouse, 500 Pearl Street, in the City, County

and State of New York, on _______ ____, ______ at ______ o’ clock in the ______ thereof, or
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as soon thereafter as counsel may be heard, why the foregoing relief should not be issued.

       ORDERED that all of the documents referenced herein shall be sealed pending the

determination of this application.

       ORDERED that until the preliminary injunction has been decided the government shall

not review the materials seized pursuant to the aforementioned search warrants on April 9, 2018

until this Court has decided on the preliminary injunction.

       ORDERED that personal service of a copy of this order and annexed affidavit upon the

defendant or his counsel on or before ______ _____, _____, shall be deemed good and

sufficient service thereof.


                                                              United States Magistrate Judge




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